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                             THE UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                    FLORENCE DIVISION

 Maria Zamora,                                          )
                                                        ) CA 4:17-cv-01910-RBH
                                                        )
                                 Plaintiff(s),          )
                 v.                                     )
                                                        )
 Landscape Resources LLC & James R Horton,              )
                                                        )
                                 Defendant(s).          )
                                                        )

       The Court, having been advised by counsel for the parties that the above action has been

settled, HEREBY ORDERS that this action is hereby dismissed without costs and without

prejudice. If settlement is not consummated within a reasonable time, either party may within

sixty (60) days petition the Court to reopen the action and restore it to the calendar, Rule 60(b)(6)

of the Federal Rules of Civil Procedure. In the alternative, to the extent permitted by law, either

party may within sixty (60) days petition the court to enforce settlement. Fairfax Countywide

Citizens v. Fairfax County, 571 F.2d 1299 (4th Cir. 1978).

       The dismissal hereunder shall be with prejudice if no action is taken under either

alternative within sixty (60) days from the filing date of this Order.

       IT IS SO ORDERED.
                                                      s/R Bryan Harwell
                                                      HONORABLE R. BRYAN HARWELL
                                                      UNITED STATES DISTRICT JUDGE

Florence, S.C.
September 22, 2017
